              IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        Case No: 5:20-cv-192


                                              )
C.G.A. (“G.A.”), by and through his
                                              )
parent and guardian, R.A., and R.A.
                                              )
individually,
                                              )
                        Plaintiffs,           )
                                              )
                           v.                 )
                                              )   AMENDED COMPLAINT FOR
                                              )         DAMAGES
                                              )
                                              )
                                              )
IREDELL-STATESVILLE              SCHOOL
                                              )
DISTRICT BOARD OF EDUCATION;
                                              )
BRADY        JOHNSON,              Former
                                              )
Superintendent of Iredell-Statesville
                                              )
District Schools, in his individual
                                              )
capacity; ALVERA LESANE, Former
                                              )
Associate Superintendent of Iredell-
                                              )
Statesville District School, in her
                                              )
individual      capacity;       RHONDA
                                              )
MCCLENAHAN, Current Executive
                                              )
Director of Exceptional Children of
                                              )
Iredell-Statesville District School, in her
                                              )
individual capacity; ALISHA CLOER,
                                              )
Former      Principal     of    Cloverleaf
                                              )
Elementary School, in her individual
                                              )
capacity; ANDREW MEHALL, Current
                                              )
Principal of Cloverleaf Elementary
                                              )
School, in his individual capacity;
                                              )
ROBIN       L.    JOHNSON,         Former
                                              )
Cloverleaf Elementary School and Third
                                              )
Creek Middle School Teacher, in her
                                              )
individual capacity,
                                              )
                                              )
                        Defendants.           )
                                              )




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     Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 1 of 55
                                        COMPLAINT

       G.A. by and through his parent and guardian, R.A., file this complaint against

Defendants for their discriminatory and tortious conduct against Plaintiffs.


                                         SUMMARY


 1.    Plaintiff G.A. is a student with Autism Spectrum-Disorder and a

       communication disability. G.A.’s autism impacts his functional communication

       skills making it difficult for him communicate effectively with his family, peers,

       and teachers.1

 2.    G.A. ‘s teacher, Ms. R. Johnson, physically, verbally, and emotionally abused

       G.A. throughout first and second grades.

 3.    Upon information and belief, during first grade, an ISSD employee, Ms.

       Jennifer Bender, witnessed the abuse and reported it to the school principal,

       Dr. Cloer.2

 4.    Dr. Cloer, and all the Defendants, had a statutory duty under North Carolina

       General Statute Section 115C-4003 to report any suspected abuse to the

       Director of Social Services and under ISSD Board Policy 4040 to report to the

       State Superintendent of Public Instruction.




1 In a 2018 Behavior Assessment System for Children- 3 Edition completed by G.A.’s mother and his

classroom teacher, he scored around one standard deviation below average on “Functional
Communication.” (Teacher Score = 37; Parent Score=42; Mean= 50).
2 The District Attorney prosecuting Ms. Johnson informed R.A. that Ms. Bender had reported the

abuse to Dr. Cloer.
3 The mandatory reporting duty is re-iterated in ISSD Policy 4240.




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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 2 of 55
 5.    Upon information and belief, Dr. Cloer did not take any steps to report the

       abuse to the police, the Director of Social Services, or the State Superintendent

       of Public Instruction, did not investigate the abuse, and did not intervene in

       any way to stop the abuse.

 6.    Upon information and belief, Dr. Cloer only reported the abuse to district-level

       personnel; however, the report stopped there. No one reported the abuse to

       the police, the Director of Social Services, or the State Superintendent of Public

       Instruction, no district-level personnel investigated the abuse, and no district-

       level personnel intervened in any way to stop the abuse. 4

 7.    Defendant Board did not remove Ms. R. Johnson as G.A.’s teacher. In fact,

       Defendant Board assigned G.A. to her classroom again for second grade and

       unsurprisingly, the abuse continued.

 8.    On September 11, 2018, video was captured of a School Resource Officer (SRO)

       taunting and holding down an elementary-aged student with autism, at the

       Pressly School in the ISSD, while the teacher sat and watched the illegal and

       excessive use of force occur.

 9.    When G.A. finally told his mother about one of abusive incidents in the spring

       of second grade, G.A.’s mother questioned Ms. R. Johnson about the incident

       and then reported it to the new school principal, Mr. Mehall.




4 One of the investigating officers from the Iredell County Sheriff’s Office informed R.A. that reports

of Ms. R. Johnson’s abuse had reached administrators as high up as Superintendent Johnson and
Associate Superintendent Lesane.


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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 3 of 55
 10. Upon information and belief, Mr. Mehall did not take any steps to report the

       abuse to the police, the Director of Social Services, or the State Superintendent

       of Public Instruction5, did not investigate the abuse, and did not intervene in

       any way to stop the abuse.

 11. When G.A. was in third grade, Defendant Board reassigned him to another

       school. Defendant Board transferred Ms. R. Johnson to teach in a preschool

       class of students who were primarily nonverbal.

 12. Shortly thereafter, one of G.A.’s classmates, told his parent, Mr. Benedetti,

       about Ms. R. Johnson’s abuse the previous year.

 13. Mr. Benedetti reported it to Ryan Feemster, a therapist from Children’s Hope

       Alliance who was working at Pressly School in the ISSD. The therapist, not

       the school district, investigated the abuse and reported it to the police.

 14. Only after the police arrested Ms. R. Johnson did Defendant Board place her

       on paid administrative leave and remove her from the classroom. Upon

       information and belief, Ms. R. Johnson had continued to abuse children in the

       preschool class prior to being placed on administrative leave.

 15. After Ms. R. Johnson’s arrest, one of the preschooler’s parents spoke to Mr.

       Mehall about the abuse her son experienced, upon information and belief, Mr.

       Mehall claimed he had no idea Ms. R. Johnson had been abusing students.




5 ISSD Board Policy 4040/ 7310 Staff-Student Relations.




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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 4 of 55
 16. Ms. R. Johnson pled guilty and entered a plea agreement on March 3, 2020

       under which prosecution was deferred until September 21, 2021. Ms. R.

       Johnson placed on supervised probation for eighteen (18) months.

 17. Despite having a statutory duty to report any suspected child abuse to the

       Director of Social Services and to the State Superintendent of Public

       Instruction, none of the Defendants took any such step.

 18. Defendant Board was aware its employees were not properly trained and have

       perpetuated practices and customs of ignoring reports of abuse of disabled

       students, failing to report abuse to the proper authorities as required by law,

       and allowing disabled students to endure physical discipline and verbal

       taunting by staff due to their disability-related behaviors.

 19. G.A. suffered emotional, psychological, physical, and educational harm from

       the abuse. Due to the abuse his disability-related behaviors intensified and

       worsened, and his academics spiraled downward as he was unable to access

       his education. In response, rather than provide reasonable accommodations

       and support, Defendant Board further denied him access to educational

       services except for one (1) hour per week.

 20. As of December 17, 2020, Defendant Board still listed Ms. R. Johnson as an

       Exceptional Children’s teacher at a new school in the district. 6




6 Gordon, Michael. “’It was torture’: NC teacher dumped special-ed students in trash can, lawsuit

says. The Charlotte Observer.
https://account.charlotteobserver.com/paywall/registration?resume=247782650


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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 5 of 55
 21. Based on the information available on the State Board of Education’s website,

       Ms. R. Johnson’s license remains active, and she has not received any

       disciplinary action for the abuse.7

22.    As set forth below, Defendants’ actions against G.A. constituted discrimination

       on the basis of disability in an education program receiving federal funds in

       violation of Section 504 of the Rehabilitation Act of 1973, § 504(a), 29 U.S.C.

       794(a), and Title II of the Americans with Disabilities Act, 42 U.S.C. §§ 12101

       et seq.; 28 CFR 35.

23.    Defendants, by and through persons acting under color of state law, deprived

       G.A. of his federal constitutional and statutory rights in violation of 42 U.S.C.

       § 1983.

24.    Plaintiffs were injured and are entitled to recover damages caused by

       Defendants’ negligence, negligent infliction of emotional distress, and false

       imprisonment in accordance with North Carolina State law.


                              JURISDICTION AND VENUE

25.    This Court has subject matter jurisdiction over this action pursuant to 28

       U.S.C. § 1331, which gives district courts jurisdiction over all civil actions

       arising under the Constitution, laws, and treaties of the United States.


26.    This Court also has subject matter jurisdiction over this action pursuant to 28




7 Disciplinary Actions to Date. North Carolina State Board of Education.

https://stateboard.ncpublicschools.gov/legal-affairs/disciplinary-process/revoked-
license#:~:text=The%20State%20Board%20of%20Education,the%20application%20for%20the%20lice
nse. Last accessed February 2, 2021.


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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 6 of 55
      U.S.C. § 1343(a), which gives district courts original jurisdiction over (a) any

      civil action authorized by law to be brought by any person to redress the

      deprivation, under color of any State Law, statute, ordinance, regulation,

      custom or usage, of any right, privilege or immunity secured by the

      Constitution of the United States or by any Act of Congress providing for equal

      rights of citizens or of all persons within the jurisdiction of the United States;

      and (b) any civil action to recover damages or to secure equitable relief under

      any Act of Congress providing for the protection of the civil rights.

27.   Plaintiffs bring this action to redress disability discrimination in accordance

      with the provisions of Section 504 of the Rehabilitation Act of 1973, § 504(a),

      29 U.S.C. 794(a), and Title II of Americans with Disabilities Act (ADA) of 1990,

      § 202, 42 U.S.C. §§ 12101 et seq.; as more fully set forth herein.

28.   Plaintiffs bring this action to redress deprivation of G.A.’s constitutional rights

      under the Fourteenth Amendment of the United States Constitution pursuant

      to 42 U.S.C. § 1983.

29.   This Court has supplemental jurisdiction over North Carolina state law claims

      pursuant to 28 U.S.C. § 1367.

30.   Venue is proper pursuant to 28 U.S.C. § 1391(b), because Defendants are

      located within the Western District of North Carolina and a substantial part

      of the acts or omissions giving rise to this complaint arose from events

      occurring within this judicial district.




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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 7 of 55
                        PARTIES TO THE COMPLAINT


31. Plaintiff G.A. is a ten-year-old disabled boy. At the time of the events complained

   of herein, Plaintiff G.A. was a student attending Cloverleaf and Pressly

   Elementary Schools, within Defendant Board’s school district, located in the

   County of Iredell, State of North Carolina.

32. Plaintiff R.A. is the mother of Plaintiff G.A.

33. Plaintiffs R.A. and G.A. currently live in, and at all relevant times hereto were

   residents of, the County of Iredell, State of North Carolina.

34. Defendant Iredell-Statesville School District Board of Education (“Defendant

   Board”) is, and at all times relevant to this action was, a body politic and local

   board of education, as that term is defined in North Carolina General Statute

   Section 115C, with the responsibility of providing school children, including G.A.,

   full and equal access to the public educational programs and activities offered in

   Iredell County in accordance with state law and the North Carolina Constitution.

   As a local governmental unit, Defendant Board is a “person” as defined by 42

   U.S.C. § 1983 (2000). Defendant Board is a recipient of federal funds within the

   meaning of 20 U.S.C. § 1681.

35. Defendant Brady Johnson (“Superintendent Johnson” or “Dr. Johnson”) became

   the Superintendent of the ISSD in 2010 and retired on June 30, 2020.             As

   Superintendent, Johnson owed a duty to implement all policies and rules adopted

   by the Department of Public Instruction and the State Board of Education for the

   organization and government of the public schools. The Superintendent is charged



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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 8 of 55
   with providing training to ISSD staff on and ensuring compliance with federal and

   state laws. Under North Carolina General Statute Section 115C-400 and ISSD

   Policies 4040 and 4240, Dr. Johnson had a duty to report known or suspected child

   abuse to the appropriate authorities. Superintendent Johnson is sued in his

   individual capacity.


36. Dr. Alvera Lesane (“Associate Superintendent Lesane” or “Dr. Lesane”) was the

   Associate Superintendent for Human Resources of the ISSD from 2010 until

   around November 2020. Under North Carolina General Statute Section 115C-400

   and ISSD Policies 4040 and 4240, Dr. Lesane had a duty to report known or

   suspected       child     abuse      to      the      appropriate      authorities.

   Associate Superintendent Lesane is sued in her individual capacity.

37. Defendant Rhonda McClenahan (“EC Director McClenahan”) was at all times

   relevant to this action, the Executive Director of Exceptional Children of the ISSD.

   EC Director McClenahan is charged with directing a program of instructional,

   psychological, and related services to help schools meet the needs of students with

   disabilities.   EC Director McClenahan is directly responsible for ensuring

   appropriate training for ISSD employees working with students with disabilities.

   Under North Carolina General Statute Section 115C-400 and ISSD Policies 4040

   and 4240, EC Director McClenahan had a duty to report known or suspected child

   abuse to the appropriate authorities. She is being sued in her individual capacity.

38. Defendant Dr. Alisha Cloer (“Principal Cloer” or “Dr. Cloer”) was, from 2012 until

   June 2018, the Principal of Cloverleaf Elementary of the ISS.d As Principal, Dr.



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     Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 9 of 55
   Cloer was responsible for ensuring that all children attending Cloverleaf

   Elementary School were afforded equal access to a public education and for

   carrying out the educational policies created by Defendant Board or mandated by

   State and Federal law. Principal Cloer was responsible for investigating conduct

   that violates Board policy or the Code of Student Conduct. Under North Carolina

   General Statute Section 115C-400 and ISSD Policies 4040 and 4240, Principal

   Cloer had a duty to report known or suspected child abuse to the appropriate

   authorities. She is being sued in her individual capacity.

39. Defendant Andrew Mehall (“Principal Mehall” or “Mr. Mehall”) has been the

   Principal of Cloverleaf Elementary in the ISSD since May 2018. As Principal, Mr.

   Mehall is responsible for ensuring that all children attending Cloverleaf

   Elementary School are afforded equal access to a public education and for carrying

   out the educational policies created by Defendant Board or mandated by State and

   Federal law. Principal Mehall was responsible for investigating conduct that

   violates Board policy or the Code of Student Conduct. Under North Carolina

   General Statute Section 115C-400 and ISSD Policies 4040 and 4240, Principal

   Mehall had a duty to report known or suspected child abuse to the appropriate

   authorities. He is being sued in his individual capacity.

40. Defendant Robin L. Johnson (“Ms. R. Johnson”) was, at all times relevant to this

   action, a teacher within the ISSD, where the physical and emotional abuse of G.A.

   giving rise to this action occurred. Ms. Johnson, on multiple occasions improperly

   physically and emotionally abused G.A. She is being sued in her individual




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     Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 10 of 55
      capacity.

41. “Defendants,” when used collectively throughout the Complaint without further

      clarification, refers to Defendant Board, Superintendent Johnson, Associate

      Superintendent Lesane, EC Director McClenahan, Principal Cloer, Principal

      Mehall, and Ms. R. Johnson.

42. “Individual Defendants,” when used collectively throughout the Complaint

      without further clarification refers to Superintendent Johnson, Associate

      Superintendent Lesane, EC Director McClenahan, Principal Cloer, Principal

      Mehall, and Ms. R. Johnson.

                    WAIVER OF GOVERNMENTAL IMMUNITY


43.      Local Boards are separate corporate bodies that can sue and be sued. N.C. Gen.

         Stat. § 115C-40, 42.

44.      “A school board waives its governmental immunity when it procures excess

         liability insurance coverage through the [North Carolina School Boards Trust]

         from a licensed commercial insurance carrier.” J.W. v. Johnston Cty. Bd. of

         Educ., No. 5:11-CV-707-D, 2012 WL 4425439 at *10 (E.D.N.C. Sept. 24,

         2012)(quoting Lail ex rel. Jestes v. Cleveland Cty. Bd. of Educ., 183 N.C. App.

         554, 561 (2007)).

45.      Defendant Board contracted with the North Carolina School Boards Trust

         (NCSBT), which then contracted with a commercial carrier to provide excess

         liability insurance coverage to the Defendant School Board. By obtaining this




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 11 of 55
       insurance coverage, the School Board has waived its governmental immunity

       for claims between $150,000.00 and $3,150,000.00.8

46.    Plaintiffs allege their actual and compensatory damages in this action are in

       excess of $150,000.00.

47.    Moreover, the School Board cannot assert governmental immunity as a defense

       to Plaintiffs’ 42 U.S.C. § 1983 claims under 42 U.S.C. § 1988 or under the

       Constitution of the United States.

48.    Although the State has not waived sovereign immunity for these individual

       State employees in the event that there is no commercial liability insurance,

       the State is responsible for the defense of State employees and for payment up

       to one million dollars ($1,000,000.00) of any judgment awarded in a court of

       competent jurisdiction against a State employee minus the first one hundred

       fifty thousand dollars ($150,000.00) which is paid by the State Board of

       Education. N.C. Gen. Stat. § 143-300.6.9

                       DEFENDANTS DO NOT HAVE IMMUNITY

49.    “[Q]ualified immunity analysis does not require factual findings, because the

       inquiry is a ''purely legal one: whether the facts alleged ... support a claim of

       violation of clearly established law." Mitchell v. Forsyth, 472 U.S. 511, 528 n.9

       (1985).




8
   Iredell-Statesville Board of Education Financial Report Year ended June 30, 2020.
 https://resources.finalsite.net/images/v1602868882/issschoolwirescom/bmzir8iwy8flt9idhhsh/Iredell-
 StatesvilleBOE20109-20Statements.pdf (p. 48)(last visited January 19, 2021).
9 What is Covered. Professional Liability for NC Public School Personnel.

https://www.professionalliabilitync.com/what/


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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 12 of 55
50.    School administrators are not entitled to qualified immunity if "(l) they

       violated a federal statutory or constitutional right, and (2) the unlawfulness of

       their conduct was clearly established at the time." District of Columbia v.

       Wesby, 138 S. Ct. 577, 589 (2018). The “plainly incompetent or those who

       knowingly violate the law” are not protected. Kiesla v. Hughes, 138 S. Ct. 1148,

       1152-52 (2018).

51.    North Carolina General Statute Section 115C-400 requires school employees,

       including the Individual Defendants, to report child abuse to the Director of

       Social Services of the county. See also 16 NCAC 06E.0107 (“Local Education

       Agencies (LEAs) shall report the following crimes and offenses within five

       school days to the State Board of Education via the Department of Public

       Instruction-approved discipline reporting system . . . [including, but not limited

       to,] assault . . . harassment – disability . . . discrimination [based on

       discrimination]”).

52.    This statutory reporting requirement is also reflected in Board Policy

       4240/7312, Child Abuse and Related Threats to Child Safety states:

             A school employee who knows or has cause to suspect (1)
             child abuse, neglect, dependency, or death as a result of
             maltreatment by a parent, guardian, custodian, or
             caretaker of the child or (2) that a child has been a victim
             of human trafficking, involuntary servitude, or sexual
             servitude by any person is legally required to report the
             case to the director of social services. The employee also
             shall immediately report the case to the principal. Any
             doubt about reporting a suspected situation must be
             resolved in favor of reporting, and the report must be made
             immediately.

             In addition to the requirements of this policy, any


                                                                                      13
      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 13 of 55
             administrator who knows or has reason to believe that a
             licensed employee has engaged in conduct which involves
             physical or sexual abuse of a child shall report that
             information to the State Superintendent of Public
             Instruction in accordance with subsection C.4 of policy
             4040/7310, Staff-Student Relations.

53.    Board Policy 4040, which mirrors 16 NCAC 06C .0312, includes the additional
       reporting states:

             Any principal who has reason to believe that a student has
             been the victim of criminal conduct shall immediately
             report the incident in accordance with policy 4335,
             Criminal Behavior.

             4. Report to State Superintendent of Public Instruction

             Any administrator, including the superintendent, a
             deputy/associate/assistant superintendent, a personnel
             administrator, or a principal, who knows or has reason to
             believe that a licensed employee has engaged in conduct
             which involves physical or sexual abuse of a child shall
             report that information to the State Superintendent of
             Public Instruction within five working days of any
             disciplinary action, dismissal, or resignation based on the
             conduct. For purposes of this subsection, physical abuse is
             the infliction of physical injury other than by accidental
             means or in self-defense, and sexual abuse is the
             commission of any sexual act upon a child or causing a child
             to commit a sexual act, regardless of consent and the age of
             the child. Failure to report such conduct may result in the
             suspension or revocation of an administrator’s license by
             the State Board of Education.

             This reporting requirement applies in addition to any duty
             to report suspected child abuse in accordance with state
             law and policy 4240/7312, Child Abuse and Related
             Threats to Child Safety, as applicable.

54.    Public employees are not entitled to immunity from negligence claims and may

       be liable for negligent acts personally committed during the course of his or




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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 14 of 55
       her professional duties. See Isenhour v. Hutto, 350 N.C. 601, 611 (1999); see

       also Reid v. Roberts, 112 N.C. App. 222,224,435 S.E.2d 116, 119 (1993)

55.    “Public officials may be liable for negligence if their actions were "corrupt or

       malicious, or that [they] acted outside of or beyond the scope of [their] duties."

       Smith v. Hefner, 235 N.C. 1, 7 (1952); see also Grad v. Kaasa, 312 N.C.

       310,313,321 S.E.2d 888, 890 (1984) (“A defendant acts with malice when he

       wantonly does that which a man of reasonable intelligence would know to be

       contrary to his duty and which he intends to be prejudicial or injurious to

       another.").

56.    “Where [a] duty is absolute, certain, and imperative, involving merely the

       execution of a set task—in other words, is simply ministerial—[the defendant]

       is liable in damages to any one specially injured, either by his [or her] omitting

       to perform the task, or by performing it negligently or unskillfully.” Moffitt v.

       Davis, 205 N.C. 565, 172 S.E. 317, 318 (1934)

                             FACTUAL ALLEGATIONS

                               2017-2018 School Year
                                    First Grade

57.    G.A. attended first grade Cloverleaf Elementary School in the ISSD.

58.    Defendant Board placed G.A. in a fully separate special education setting. Ms.

       R. Johnson was G.A.’s teacher.

59.    Through the school year, Ms. R. Johnson physically and emotionally abused

       G.A. The abuse had no educational purpose, was done in bad faith, and

       departed from all standards of professional judgment.



                                                                                      15
      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 15 of 55
60.    On multiple occasions, Ms. R. Johnson restrained G.A., picked him up, and

       placed him in a trash can/recycle bin from which he was unable to get out.

       When G.A. attempted to get out, Ms. R. Johnson would push him back in.

61.    Ms. R. Johnson would tell G.A., “if he acted like trash, [she] would treat him

       like trash.” Ms. R. Johnson also told G.A. that G.A.’s mother, R.A., wanted her

       to do this when he exhibited disability-related maladaptive behaviors.


62.    On multiple other occasions, Ms. R. Johnson pushed G.A. down on the floor,

       restrained him, and then covered his mouth and nose so that he was unable to

       scream, allegedly to prevent him from disturbing the non-disabled students in

       the school.

63.    Ms. R. Johnson punished G.A. for behaviors, through the use of aversive

       practices, which were not employed on his non-disabled peers when they

       misbehaved.

64.    This abuse caused G.A. to be denied access to his education as he was

       repeatedly required to stay in a trash can/recycle bin until Ms. R. Johnson

       allowed him to leave, rather than receive instruction.

65.    Due to Ms. R. Johnson’s abuse, G.A. demonstrated increased maladaptive

       behaviors—a vicious cycle that Ms. R. Johnson used as a basis to subject him

       to further punishment and denial of equal access to education based on his

       disability-related behaviors.




                                                                                   16
      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 16 of 55
66.      Upon information and belief, Ms. Jennifer Bender observed Ms. R. Johnson’s

         abuse of G.A. and reported the abuse to Principal Cloer.10

67.      Principal Cloer had a statutory duty to report the suspected abuse to the

         Director of Social Services. Additionally, Principal Cloer had a duty to report

         the suspected abuse to the State Superintendent of Public Instruction. Upon

         information and belief, Principal Cloer chose to do neither. Instead, Principal

         Cloer kept the information of the suspected abuse within the school district

         and, upon information and belief, reported it to the Associate Superintendent

         Lesane (the Human Resources Director), EC Director McClenahan, and

         Superintendent Johnson.

68.      Principal Cloer had the ability to take corrective action; yet Principal Cloer did

         not even investigate the abuse allegations or remove Ms. Johnson from G.A.’s

         classroom.

69.      Dr. Lesane, EC Director McClenahan, and Superintendent Johnson had a

         statutory duty to report the suspected abuse to the Director of Social Services,

         and the additional duty to report the suspected abuse to the State

         Superintendent of Public Instruction. Upon information and belief, all three

         chose to keep the information about the suspected abuse within the school

         district and did not alert the appropriate authorities.




10 This information was reported to R.A. by the District Attorney prosecuting Ms. Johnson’s criminal

case.


                                                                                                  17
        Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 17 of 55
70.    All four (4) employees acting on behalf of the Board had the authority to

       intervene and protect G.A. and the other students in the class; yet not a single

       one took those steps.

71.    As no one with the duty and authority to act chose to intervene, Ms. R.

       Johnson’s discriminatory and tortious conduct towards G.A. continued and

       caused G.A. further emotional and educational harm; still, no one investigated

       the abuse or reported the abuse to the proper authorities.

72.    None of the Defendants ever informed G.A.’s mother of the reports of Ms. R.

       Johnson’s abuse of her son.

73.    Principal Cloer left the ISSD and became Executive Director of Human

       Resources and Auxillary Services for Alexander County Schools on July 30,

       2018.

74.    Andrew “Andy” Mehall was appointed the new Principal of Cloverleaf

       Elementary.

                               2018-2019 School Year
                                   Second Grade

75.    G.A. remained in the separate, segregated EC classroom at Cloverleaf

       Elementary.    Despite knowing of the reports of abuse, Defendant Board

       assigned Ms. R. Johnson as his teacher.

76.    With more frequency and intensity, Ms. R. Johnson continued to physically

       and emotionally abuse G.A.—just as she had in first grade.

77.    Upon information and belief G.A. continued to be inappropriately disciplined

       for behaviors for which his non-disabled peers were not disciplined and



                                                                                    18
      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 18 of 55
        through the use of aversive techniques, which his non-disabled peers did not

        have to endure.

78.     During this same school year, on September 11, 2018, an SRO at the Pressly

        School in the ISSD handcuffed, held down, and taunted another autistic

        student for around twenty-five minutes while a teacher sat and watched.11

        Upon information and belief, no ISSD employee reported the incident and no

        corrective action was taken until the child’s parent filed a federal lawsuit.

79.     Ms. R. Johnson continued to verbally abuse G.A.

80.     Due to Ms. R. Johnson’s abuse, G.A. began exhibiting school refusal behaviors

        and his maladaptive behaviors continued to escalate.

81.     G.A.’s maladaptive behaviors were exacerbated by his below average

        functional communication skills. His limited communication skills led to G.A.

        being unable to effectively communicate the ongoing abuse to his mother R.A.12

82.     In February 2019, for the first time, G.A. reported to his mother Ms. R. Johnson

        had put her hands over his mouth and he had been unable to breathe. R.A.

        immediately went to school to speak with Ms. R. Johnson. Ms. R. Johnson

        informed G.A.’s mother that she did this to stop him from disturbing the non-

        disabled students on their hallway. R.A. reported this incident to Principal

        Mehall.




11 Latos, Allison, “Mother files lawsuit after school resource officer handcuffs 7-year-old son with

autism.” WSOCTV.com; https://www.wsoctv.com/news/local/mother-files-lawsuit-after-school-
resource-officer-handcuffs-7-year-old-son/BGKZ2ZQAOVDFPA7TVNGIV3UARQ/
12 Supra note 1.




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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 19 of 55
83.    Principal Mehall had a statutory duty to report the suspected abuse to the

       Director of Social Services. Additionally, Principal Mehall had a duty to report

       the suspected abuse to the State Superintendent of Public Instruction. Upon

       information and belief, Principal Mehall chose to do neither.

84.    Later that spring, G.A. broke part of his desk when he was having a behavioral

       meltdown. As a consequence, Ms. R. Johnson refused to give him a desk and

       required he remain standing all day within a taped area on the floor where his

       desk had been. G.A. was unable to access his education as he stood crying.

85.    G.A. came home that day with his shirt wet from crying. When R.A. asked Ms.

       R. Johnson what happened, she reported the punishment was necessary to

       teach him a lesson about respecting school property, and G.A. would need to

       earn back his desk privileges.

86.    R.A. reported her concerns to Principal Mehall. Upon information and belief,

       Principal Mehall did not conduct an investigation into R.A.’s concerns or take

       any corrective action to prevent G.A.’s abuse. Instead, Principal Mehall

       allowed Ms. R. Johnson to withhold G.A.’s desk and agreed that G.A. needed

       to earn it back.

87.    Upon information and belief, after R.A.’s report, Ms. Johnson never returned

       G.A.’s desk during the school year and forced him to stand as punishment for

       his disability-related behaviors.

88.    On one occasion, G.A. returned home from school with his hair full of grease

       and his clothes ruined. When G.A.’s mother asked Ms. R. Johnson what




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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 20 of 55
       happened, Ms. R. Johnson reported she had accidentally spilled the hot juice

       and grease from her lunch of collard greens on G.A.’s head after heating it up

       in the microwave.

89.    G.A.’s scalp was scalded from the incident.

90.    Upon information and belief, Defendant Board, Superintendent Johnson,

       Associate Superintendent Lesane, and EC Director McClenahan knew of Ms.

       R. Johnson’s ongoing abuse of G.A.

                               2019-2020 School Year
                                    Third Grade


91.    When G.A. was in third grade, Defendant Board moved Ms. R. Johnson to teach

       a class of primarily non-verbal preschool students who presumably were

       unable to verify the abuse.

92.    H.R., a verbal student in Ms. R. Johnson’s preschool class, reported to his

       parents that Ms. R. Johnson also placed him in the trash can/recycle bin.

       According to H.R.’s mother, upon information and belief, Ms. R. Johnson told

       H.R. that is what happens to little boys who do not pick up their toys. “If they

       acted like trash, she would treat them like trash.”

93.    Defendant Board relocated G.A.’s segregated class for students with

       disabilities to Defendant Board’s alternative school for students with behavior

       issues, the Pressly School – the same school where the incident of abuse of a

       student with autism occurred in the previous school year.

94.    Shortly after G.A. started third grade, and was no longer in Ms. R. Johnson’s

       class, G.A.’s mother spoke to Joseph Benedetti, the parent of another student


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      Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 21 of 55
        who had also previously been in Ms. R. Johnson’s class and was now in G.A.’s

        segregated class at Pressly School.

95.     Mr. Benedetti informed G.A.’s mother that his disabled son recently told him

        that Ms. R. Johnson put students in the trashcan/recycle bin and told them “if

        [they] acted like trash, [she] would treat [them] like trash.”

96.     When R.A. asked G.A. about the trashcan/recycle bin, G.A. began recounting

        the various ways Ms. R. Johnson abused him. G.A. told his mother that Ms.

        R. Johnson told him that his mother asked Ms. R. Johnson to do these things

        to him to help with his anger.

97.     Mr. Benedetti went immediately to the Pressly School and reported these

        concerns to Ryan Feemster, a contracted therapist with Children’s Hope

        Alliance, who worked with students in a day treatment program at Pressly

        School.

98.     Mr. Feemster questioned other students previously in Ms. R. Johnson’s class

        who confirmed the abuse.

99.     Mr. Feemster, who was not an employee of Defendant Board, reported the

        abuse to the Iredell County Sherriff’s Office. For the first time, R.A. was

        notified of the allegations of abuse, and the police began an investigation.

100.    On September 23, 2019, the IEP team decided G.A. was no longer allowed to

        attend school on a daily basis due to his maladaptive behaviors which had

        intensified over the past year as a result of the abuse.




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 22 of 55
101.    Due to Defendant Board’s refusal to allow G.A. access to school except for two

        (2) hours—and then one (1) hour—each week13, R.A. was forced to stop

        working.

102.    On October 17, 2019, the Iredell County Sherriff’s Office issued a warrant for

        Ms. R. Johnson’s arrest based on her abuse of G.A.

103.    On October 18, 2019, R.A. provided Defendant Board with medical

        documentation from G.A.’s therapist stating that G.A. was suffering from

        school-related trauma as he “was put in trash can by abusive teacher at

        school.”

104.    On October 22, 2019 Defendant Board and Superintendent Johnson reported

        to the media Ms. R. Johnson had been placed on paid administrative leave

        pending an investigation presumably regarding the abuse of G.A. that had

        been reported for years.

105.    G.A. continued to flounder at home, with almost no access to education, as well

        as had ongoing behavioral issues due to the trauma of Ms. R. Johnson’s abuse.

106.    On March 3, 2020, Ms. R. Johnson pleaded guilty in Iredell District Court to

        two counts of Assault on a Handicapped Person.

107.    Ms. R. Johnson’s plea agreement placed her on deferred prosecution and

        supervised probation until September 1, 2021. During this period, she was to

        have no contact with G.A. or his family except for an apology letter she wrote

        which was provided to Plaintiffs through the District Attorney.



13 The ISSD school day is six and half (6.5) hours—five (5) days per week.




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 23 of 55
108.    Defendant Board reported to G.A.’s mother that Defendant Board fired Ms. R.

        Johnson for her actions.


109.    Only after G.A.’s mother retained an attorney who requested G.A.’s records

        from Defendant Board did Defendant Board convene an IEP team meeting to

        discuss G.A.’s lack of access to educational services.


110.    Superintendent Brady Johnson retired on June 30, 2020.


                                2020-2021 School Year
                                    Fourth Grade

111.    Although Defendant Board had reported to R.A. that it fired Ms. R. Johnson,

        according to Defendant Board’s website, Defendant Board, in fact, continued

        to employ Ms. R. Johnson and allow her access to disabled children.

112.    According to Defendant Board’s website, Ms. R. Johnson worked at Defendant

        Board’s school, Third Creek Middle School, as a special education teacher,

        while she remains on court-mandated probation due to her abuse of G.A. 14

113.    Around the beginning of November 2020, Associate Superintendent Lesane

        resigned her position in the ISSD and accepted a position in Durham Public

        Schools as Assistant Superintendent of Human Resources.

114.    Defendant Board did not remove Ms. R. Johnson from her position as a

        special education teacher, as documented by its own website, until the

        original complaint was filed in this case.




14 Supra note 6.




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 24 of 55
                CAUSES OF ACTION AND CLAIMS FOR RELIEF

                                  COUNT I
       Discrimination Based on Disability in Violation of Section 504 of the
                    Rehabilitation Act, 29 U.S.C. § 794 et seq.

                       (Defendant Board in its official capacity)


115.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.

116.    Plaintiff G.A. is a “handicapped person” as defined by the regulations of Section

        504 of the Rehabilitation Act (“Section 504”) and is otherwise qualified to

        attend school is Defendant Board’s school district. 34 C.F.R. § 104(3)(j)(1); 34

        C.F.R. § 103(3)(1)(2).


117.    Section 504 applies to each recipient of federal financial assistance from the

        Department of Education and to the program or activity that receives such

        assistance. 34 C.F.R. § 104.2. Defendant Board is a “recipient of Federal

        financial assistance from the Department of Education” that operates a

        program or activity as defined by the regulations of Section 504. 34 C.F.R. §

        104.38; 34 C.F.R. 104.34.

118.    Section 504 of the Rehabilitation Act of 1973 (“Section 504”) prohibits public

        entities, including local educational agencies (LEAs), from “exclud[ing] from

        the participation in, [ ] den[ying] the benefits of, or [ ] subject[ing] to

        discrimination” any otherwise qualified person with a disability from any

        program or activity receiving federal financial assistance solely by reason of

        her or his disability. 29 U.S.C. § 794(a).


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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 25 of 55
119.    From G.A.’s enrollment in the ISSD, Defendant Board discriminated against

        G.A. by excluding him from participation in a program and denying him the

        benefits of a program solely on the basis of his disability.

120.    Defendant Board knew Plaintiff was being abused by his classroom teacher

        and the abuse precluded him from accessing his education. By way of example,

        and not limitation, the abuse during instructional time included:

           a) Taking G.A.’s desk away due to disability related behaviors;

           b) Forcing G.A. to stand all day in a taped-off square away from peers due

              to his disability related behaviors;

           c) Placing G.A.in a trash container to punish him for disability related

              behaviors;

           d) Smothering G.A. by holding him down and placing a hand over his

              mouth and nose in response to his disability related behaviors; and

           e) Emotionally abusing G.A.

121.    Upon information and belief, Defendant Board knew the abuse caused G.A.’s

        behaviors to deteriorate causing additional abuse by Ms. R. Johnson as well as

        a further loss of instructional time thus denying G.A.’s access to his education.

122.    Defendant Board’s failure to address the abuse and discriminatory practices

        employed against G.A. that differed from the treatment of his nondisabled

        peers demonstrates gross misjudgment and departs from all standards of

        professional judgment.

123.    Defendant Board acted in bad faith when it failed to properly investigate or




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 26 of 55
        report the abuse of G.A. by his classroom teacher due to his disability related

        behaviors although it is required by law and its own policy to do so.

124.    Defendant Board acted in bad faith and with gross misjudgment when it

        allowed Ms. R. Johnson to continue teaching in the 2018-2019, 2019-2020, and

        2020-2021 school years despite the reports of abuse.

125.    Defendant Board acted in bad faith and with gross misjudgment when it moved

        Ms. R. Johnson to a preschool classroom with many non-verbal students in the

        2019-2020 school year where, according to a parent of preschooler H.R., Ms. R.

        Johnson continued the same pattern of abuse.

126.    Defendant Board is vicariously liable for the bad faith actions and gross

        misjudgment of its subordinates including:

            a) Failing to report, investigate, or take other corrective action after

               learning of G.A.’s abuse by his classroom teacher;

            b) Allowing G.A. to be subjected to recurring physical and emotional abuse

               by his classroom teacher due to his disability related behaviors;

            c) Limiting G.A.’s access to school and educational services to two (2)

               hours—and then further limiting to one (1) hour—of services per week

               due to his disability related behaviors, which were exacerbated by the

               abuse; and

127.    Defendant knew the abuse of G.A. by his classroom teacher denied him equal

        access to education as his similarly-situated peers including:

       a)      G.A. was punished and denied the use of a desk due to his disability




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 27 of 55
               related behaviors, which precluded him from accessing instruction;

       b)      G.A.’s instructional time was limited for behaviors such as yelling or

               non-compliance;

       c)      G.A. was punished, placed in a trash container, and denied access to his

               education due to disability-related behaviors; and

       d)      G.A.’s maladaptive behaviors increased due to the abuse thereby

               causing a vicious cycle of disability-related behaviors, abuse, and

               removal from school.

128.    As a direct and proximate result of Defendants’ discrimination based on G.A.’s

        disability, Plaintiffs sustained, and continue to sustain, damages in excess of

        TWENTY-FIVE THOUSAND DOLLARS ($25,000.00), the amount to be

        determined at trial. Plaintiffs’ damages include, but are not limited to:

              a) Past, present and future psychological pain, suffering, and

                 impairment; and

              b) Medical bills, counseling, and other costs and expenses for future

                 psychological care; and

              c) Attorneys’ fees.

                               COUNT II
  Discrimination Based on Disability in Violation of the Americans with
                Disabilities Act, 42 U.S.C. § 12101 et seq.

                       (Defendant Board in its official capacity)


129.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.



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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 28 of 55
130.    G.A. is a “qualified individual with a disability,” as defined by the ADA, 42

        U.S.C. § 12131(2).

131.    Defendant Board is a “public entity” within the meaning of the ADA. 42 U.S.C.

        § 12131(2).

132.    Title II of the ADA and Section 504 are closely related, and “there is no

        significant difference in the analysis of rights and obligations created by the

        two Acts.” K.M. v. Tustin Unified Sch. Dist., 725 F.3d 1088 (9th Cir. 2013)

        (quoting Vinson v. Thomas, 288 F.3d 1145, 1152 n.7 (9th Cir. 2002)).

133.    Title II of the ADA states “no qualified individual with a disability shall, by

        reason of such disability, be excluded from participation in or be denied the

        benefits of the services, programs, or activities of a public entity, or be

        subjected to discrimination by any such entity.” 42 U.S.C. §12132.

134.    Defendant Board discriminated against G.A. by excluding him from

        participation in a program and denying him the benefits of the services,

        programs, and activities of a public entity, the ISSD, was motivated by his

        disability, in violation of the Americans with Disabilities Act, 42 U.S.C.

        § 12132.

135.    Defendant allowed the abuse and punishments of G.A. that were motivated by

        his disability although his nondisabled peers did not experience the same

        punishments for similar behaviors. By way of example and not limitation, his

        non-disabled peers were not held down and smothered for yelling in a

        classroom. Likewise, his non-disabled peers did not have their desks taken




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 29 of 55
        away and were not forced to stand all day for misbehavior and were not placed

        in a trashcan.

136.    As a direct and proximate result of Defendants’ discrimination based on G.A.’s

        disability, Plaintiffs sustained, and continue to sustain, damages in excess of

        TWENTY-FIVE THOUSAND DOLLARS ($25,000.00), the amount to be

        determined at trial. Plaintiffs’ damages include, but are not limited to:

           a) Past, present and future psychological pain, suffering, and impairment;

               and

           b) Medical bills, counseling, and other costs and expenses for future

               psychological care; and

           c) Attorneys’ fees.

                                       COUNT III
                         Violation of the Fourteen Amendment
                                Substantive Due Process
                                     42 U.S.C. § 1983

 (Defendant Board, in its official capacity, and Superintendent Johnson,
 Associate Superintendent Lesane, Principal Cloer, Principal Mehall, and
              Ms. R. Johnson, in their individual capacities)


137.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.

138.    Pursuant to 42 U.S.C. § 1983, “every person who, under color of any statute,

        ordinance, regulation, custom, or usage, of any State . . . subjects, or causes to

        be subjected, any citizen of the United States . . . to the deprivation of any

        rights, privileges, or immunities secured by the Constitution and laws, shall

        be liable to the party injured in an action at law, suit in equity, or other proper


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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 30 of 55
        proceeding for redress.”

139.    The Fourteenth Amendment to the United States Constitution provides in

        pertinent part that no State shall “deny to any person within its jurisdiction

        the equal protection of the laws” or “deprive any person of life, liberty, or

        property, without due process of law.” U.S. Const. amend. XIV, § 1.

140.    “Property interests, of course, are not created by the Constitution. Rather they

        are created and their dimensions are defined by existing rules or

        understandings that stem from an independent source such as state law—

        rules or understandings that secure certain benefits and that support claims

        of entitlement to those benefits.” Bd. of Regents of State Colls. v. Roth, 408 U.S.

        564, 577 (1972).

141.    Additionally, G.A., a child with a disability, has statutorily protected rights

        provided by Section 504 and Title II of the Americans with Disabilities Act.

142.    Deprivations of constitutionally [and statutorily] protected rights may arise

        due to “governmental ‘custom’ even though such a custom has not received

        formal approval through the body’s official decision-making channels.” Monell

        v. Dep’t of Soc. Servs. of City of New York, 436 U.S. 658, 691 (1978).

143.    “[P]olicy or custom may possibly be inferred from continued inaction in the face

        of a known history of widespread constitutional deprivations on the part of

        [government] employees, see Wellington v. Daniels, 717 F.2d 932 (4th Cir.

        1983) (police brutality), or, under quite narrow circumstances, from the

        manifest propensity of a general, known course of employee conduct to cause




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 31 of 55
        constitutional deprivations to an identifiable group of persons having a special

        relationship to the state.” Milligan v. City of Newport News, 743 F.2d 227 (4th

        Cir. 1984); see also Avery v. County of Burke, 660 F.2d 111 (4th Cir. 1981).

144.    There are four (4) ways to allege a policy or custom:

              Through an express policy, such as a written ordinance or
              regulation; (2) through the decisions of a person with final
              policymaking authority; (3) through an omission . . . that
              manifest[s] deliberate indifference to the rights of citizens;
              or (4) through a practice that is so persistent and
              widespread as to constitute a custom or usage with the
              force of law.

        Oliver v. Baity, 208 F. Supp.3d 681, 689 (M.D.N.C. 2016) (internal quotation

        marks omitted)

145.    Pursuant to 42 U.S.C. § 1983, “persons” acting under color of state law who

        violate the United States Constitution may be sued. Federal law, not state

        law, determines whether a governmental body qualifies as a “person” subject

        to suit under § 1983.

146.    A government actor’s conduct may rise to the level of a substantive due process

        violation if the conduct is arbitrary or conscience shocking. Collins v. City of

        Harker Heights, 503 U.S. 115, 116 (1992); see also Johnson v. Newburgh

        Enlarged Sch. Dist., 239 F.3d 246, 251 (2d Cir. 2001) (holding substantive due

        process claims against individual defendant and school district could move

        forward as student had “constitutional ‘right to be free from the use of excessive

        force’ in the ‘non-seizure, non-prisoner context’” in school”).

147.    A government actor may be liable for harm caused by a “state created danger”

        if there was 1) foreseeable and direct harm; 2) conscience shocking conduct; 3)


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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 32 of 55
        a foreseeable victim; and 4) state officials engaged in affirmative acts or

        inaction that placed a student “position of danger . . . and then fail[ed] to

        protect him.” L.R. v. Sch. Dist. of Philadelphia, 60 F. Supp. 3d 584, 593-94

        (E.D. Pa. 2014), aff'd, 836 F.3d 235 (3d Cir. 2016).

148.    Defendants were at all relevant times members of the ISSD Board of Education

        or employees of ISSD and persons acting under color of state law, empowered

        and required by the State of North Carolina to, among other things, ensure an

        open and safe environment for educational services, free from abuse and

        disability-based discrimination.

149.    Under the Fourteenth Amendment, G.A. had the right, as a public-school

        student, to personal security, bodily integrity, and equal access to an

        educational environment free from harassment.

150.    G.A. has a right to his bodily integrity and to be free from physical abuse,

        excessive force, and emotional abuse while at the ISSD.

151.    G.A. had his bodily integrity violated when he was abused by his classroom

        teacher while in school. The abuse served no educational purpose.

152.    Upon information and belief, from 2017-2019, Ms. R. Johnson’s abuse of G.A.

        was reported on multiple occasions to Defendant Board, Superintendent

        Johnson, Associate Superintendent Lesane, EC Director McClenahan,

        Principal Cloer, and Principal Mehall.

153.    Upon information and belief, Ms. R. Johnson’s abuse was reported to Principal

        Cloer when G.A. was in first grade by Jennifer Bender, a teacher who




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 33 of 55
        witnessed the physical and emotional abuse of G.A., which continued to occur

        over a two (2) year period without Defendants investigating the abuse,

        reporting the abuse, or taking any corrective action.

154.    The abuse included, but was not limited to, Ms. R. Johnson stuffing G.A. in a

        trash container, holding G.A. down and smothering him, telling G.A. if he

        “acted like trash, we would be treated like trash,” and spilling hot collard

        greens on his head and body causing burns.

155.    This abuse perpetuated upon G.A. by Ms. R. Johnson is conscience shocking

        and would horrify any rational person. ISSD’s failure to take any action to stop

        the abuse and prevent the future abuse of G.A.—even after multiple officials

        with decision-making authority were informed of the abuse—was deplorable

        and knowingly created a dangerous classroom where, segregated from

        nondisabled students, the abuse could be concealed.

156.    Any    rational   principal,    EC    Director,   Associate     Superintendent,

        Superintendent, or Board would have taken immediate action to stop the abuse

        of G.A. by his classroom teacher as well as take action to prevent future abuse.

157.    The recurring, continued abuse of G.A. was foreseeable as administrators had

        received multiple reports from staff and R.A. about Ms. R. Johnson’s conduct.

        G.A. was a foreseeable victim as the reports explicitly related to Ms. R.

        Johnson’s abuse of G.A. in the classroom.

158.    Aware of the danger to G.A., Defendants took no corrective action in first grade;

        thereby ratifying Ms. R. Johnson’s conduct and allowing the continued abuse




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 34 of 55
        of G.A., and reportedly other disabled students.

159.    Defendants knew G.A., as a special education student, would continue to be in

        Ms. R. Johnson’s class for the second grade; however, no action was taken to

        remove him from her care. To the contrary, Defendants placed him in her care

        for second grade in the face of known reports of abuse. Defendants then placed

        other disabled students in her care after G.A. was reassigned to another school.

160.    Defendants knew G.A.’s maladaptive behaviors were worsening as a result of

        the abuse in school; yet Defendant effectively punished G.A. and his mother by

        removing him from school for almost the entire school week thus forcing his

        mother to quit her job and lose her income to take care of him.

161.    When R.A. reported the abuse to Principal Mehall in second grade,

        administrators again turned a blind eye, took no corrective action, and allowed

        the abuse to continue.

162.    G.A. was denied his property right to his education in a North Carolina public

        school by his repeated removals from academic instruction due to the abuse

        and then a long-term removal from daily academic instruction. By way of

        example:

           a) G.A. was denied his property right to education when his desk was

              removed during school hours and he was forced to stand while he cried

              from the pain.

           b) G.A. was further denied his property right to education when the

              Defendants limited his access to two (2) hours—and then further limited




                                                                                     35
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 35 of 55
                 to one (1) hour—per week of instruction based on his maladaptive

                 behaviors, which worsened due to his abuse by Ms. R. Johnson.

163.    Both Principal Cloer and Principal Mehall failed to report G.A.’s abuse by Ms.

        R. Johnson to the proper authorities as required by North Carolina General

        Statute Section 115C-400 and ISSD Board Policies 4040 and 4240.

164.    Upon information and belief, although Principals Cloer and Mehall supervised

        Ms. R. Johnson, they failed to take any corrective action including, but not

        limited to, investigating the allegations, observing Ms. R. Johnson’s classroom,

        removing Ms. R. Johnson from the classroom, reporting the abuse to the

        Director of Social Services or the State Board of Education. These failures

        directly led to Ms. R. Johnson’s continued abuse of G.A., and reportedly other

        disabled students, at school.

165.    Upon information and belief, not a single Defendant reported G.A.’s abuse to

        proper authorities as required by North Carolina General Statute Section

        115C-400, thus demonstrating the Board’s deliberate indifference to such

        abuse.

166.    Defendant Board knew its subordinates had violated G.A.’s constitutional

        rights to the following:

           a) Bodily integrity; and

           b) Property right to his education.

167.    Defendant Board established a custom, policy, and practice of failing to enforce

        federal and state law requirements as well as ISSD Board Policy by:




                                                                                     36
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 36 of 55
                   1. Failing to report abuse to the proper authorities as required

                       under North Carolina General Statute § 115C-400, and ISSD

                       Board Policies 4040 and 4240/7312;

                   2. Failing to investigate reports of child abuse;

                   3. Demonstrating its deliberate indifference to the abuse;

                   4. Continuing to employ Ms. R. Johnson and assign her to work

                       with disabled students;

                   5. Failing to report teacher misconduct to the State Board of

                       Education;

                   6. Failing to report the abuse allegations to G.A.’s mother; and

                   7. Failing to take any other corrective action to prevent G.A., and

                       reportedly other students, from being abused over a two (2) year

                       period.

168.    The acts by Defendants constitute a disregard for, and deliberate indifference

        to, Plaintiff G.A.’s constitutionally protected interests, including his

        substantive due process right to his property interest in educational benefits

        and right to bodily integrity under the Fourteenth Amendment to the United

        States Constitution.

169.    As a direct and proximate result of Defendants’ discriminatory misconduct,

        Plaintiffs sustained, and continues to sustain, damages in excess of TWENTY-

        FIVE THOUSAND DOLLARS ($25,000.00), the amount to be determined at

        trial. Plaintiff G.A.’s damages include, but are not limited to:




                                                                                      37
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 37 of 55
           a) Past, present and future physical and psychological pain, suffering, and

              impairment;

           b) Medical bills, counseling, and other costs and expenses for future

              psychological care;

           c) Monetary damages including, but not limited to lost wages, for

              intentional discrimination; and

           d) Attorneys’ fees.


                                     COUNT IV
                      Violation of the Fourteen Amendment
                           Failure to Supervise & Train
                                  42 U.S.C. § 1983

 (Defendant Board in its official capacity, and Superintendent Johnson,
Associate Superintendent Lesane, EC Director McClenahan, and Principal
    Cloer, Defendant Principal Mehall, in their individual capacities)



170.    Section 1983 liability due to failure to train is established "where it can be

        shown that policymakers were aware of, and acquiesced in, a pattern of

        constitutional violations involving the exercise of [] discretion, ... [which

        pattern] could put the municipality on notice that its officers confront the

        particular situations on a regular basis, and that they often react in a manner

        contrary to constitutional requirements." City of Canton, Ohio v. Harris, 489

        U.S. 378, 397 (1989).

171.    Additionally, “the unconstitutional consequences of failing to train [can also]

        be so patently obvious that [an actor] could be liable under § 1983 without proof




                                                                                      38
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 38 of 55
        of a pre-existing pattern of violations.” Connick v. Thompson, 563 U.S. 51, 61

        (2011).

172.    A school board may be found to have supervisory liability for a Section 1983

        claim if the plaintiff shows “actual or constructive knowledge of a risk of

        constitutional injury, deliberate indifference to that risk, and ‘an “affirmative

        causal link” between the supervisor's inaction and the particular constitutional

        injury suffered by the plaintiff.’” Carter v. Morris, 164 F.3d 215, 221 (4th Cir.

        1999).

173.    Defendant Board failed its duty to supervise and train its subordinates. Upon

        information belief the Board knew of ongoing violations surrounding the

        failure to investigate, report, or address G.A.’s abuse by Ms. R. Johnson as well

        as its subordinates’ lack of understanding regarding their duties under the law.

174.    Defendant Board, Superintendent Johnson, Associate Superintendent Lesane,

        Principal Cloer, and Principal Mehall failed to supervise their subordinates by

        way of example:

                  a) Defendants knew of Ms. R. Johnson’s abuse of G.A.

                  b) Defendants failed to direct the work of their subordinates to ensure

                     compliance with federal, state, and local law in addition to

                     Defendant Board’s policies.

                  c) The failure to supervise subordinates and ensure G.A.’s abuse was

                     addressed in first grade directly caused the abuse to continue for a

                     two (2) year period and also caused other students to be abused in a




                                                                                      39
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 39 of 55
                  similar manner by Ms. R. Johnson.

               d) As a result of Defendants’ failures, G.A. suffered injuries, including:

                   1. Physical and verbal abuse while at school;

                   2. Loss of instructional time constituting educational harm;

                   3. Emotional distress, and ongoing medical issues including a

                      diagnosis of PTSD.

175.    Defendant Board, Superintendent Johnson, and EC Director McClenahan

        failed to train their subordinates to understand their duties and the

        requirements under Board Policy, state, and federal law.

               a) Defendants knew of Ms. R. Johnson’s abuse of G.A. and the violation

                  of his substantive due process rights.

               b) Defendants knew their subordinates were not appropriately trained

                  and did not understand their mandatory reporting duties for child

                  abuse.

               c) Defendants knew G.A.’s was being discriminated against due to his

                  disability.

               d) Defendants knew their subordinates were not appropriately trained

                  and did not understand their responsibilities under the ADA and

                  Section 504.

               e) Defendants took no action to ensure their subordinates were trained

                  even after knowing of allegations of abuse when G.A. was in first

                  grade.




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 40 of 55
       f) The failure to train amounted to deliberate indifference to G.A.’s

          constitutional right to bodily integrity, as the violations continued

          for a two (2) year period. Through its indifference Defendants

          ratified the illegal actions of their subordinates when they failed to

          report, investigate, or prevent G.A.’s abuse by his classroom teacher.

       g) The failure to train amounted to deliberate indifference to G.A.’s

          right to be free from disability discrimination and have equal access

          to educational instruction under Section 504 and the ADA. Through

          its indifference Defendants ratified the illegal actions of their

          subordinates when they discriminated against G.A. on the basis of

          his disability and limited G.A.’s access to instruction.

       h) Defendant Board established a custom, policy, and practice of failing

          to train their employees regarding the requirements of state law

          regarding reporting child abuse. Defendant Board demonstrated

          this custom, policy, and practice by:

             a. Failing to address the reports of Ms. R. Johnson’s abuse of

                G.A. at school in the first grade;

             b. Failing to take any corrective action or direct its subordinates

                to take corrective action;

             c. Placing G.A. in Ms. R. Johnson’s classroom for second grade

                where he was the victim of further abuse;

             d. Allowing Ms. R. Johnson to abuse other students in a similar




                                                                             41
Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 41 of 55
                         fashion; and

                      e. Continuing to employ Ms. R. Johnson after she pleaded guilty

                         to Assault on a Handicap Person.

               i) Defendant Board established a custom, policy, and practice of failing

                  to train their employees regarding the requirements of state and

                  federal law for Section 504 and the ADA. Defendant Board

                  demonstrated this custom, policy, and practice by:

                   1. Knowing G.A. was being denied equal access to his education

                      due to his disability under Section 504 and the ADA;

                   2. Failing to provide adequate training in light of foreseeable

                      consequences of G.A. continuing to be discriminated against and

                      denied access to education; and

                   3. Ratifying the unreasonable actions of the individual Defendants

                      to continue denying, and further deny, G.A. access to his

                      education in second and third grade.

176.    As a direct and proximate result of Defendants’ discriminatory misconduct,

        G.A. sustained, and continues to sustain, damages in excess of TWENTY-FIVE

        THOUSAND DOLLARS ($25,000.00), the amount to be determined at trial.

        G.A.’s damages include, but are not limited to:

        a)    Past, present and future psychological pain, suffering, and impairment;

        b)    Medical bills, counseling, and other costs and expenses for future

              psychological care;




                                                                                    42
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 42 of 55
        c)      Monetary damages for intentional or purposeful discrimination; and

        d)      Attorneys’ fees.

                                       COUNT V
                        Violation of the Fourteen Amendment
                                   Equal Protection
                                    42 U.S.C. § 1983

                      (Defendant Board in its official capacity)

177.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.

178.    Under the Fourteenth Amendment, G.A. has the right as a public-school

        student to equal protection of the laws.

179.    Defendant Board intentionally discriminated against G.A. on the basis of his

        disability and prevented him from receiving equal access to education when it

        turned a blind eye to G.A.’s physical and emotional abuse by his teacher Ms.

        R. Johnson, which severely limited his access to his education.

180.    Defendant Board knew Ms. R. Johnson was violating G.A.’s constitutional and

        statutorily protected rights when she repeatedly abused him for two (2) years

        by way of example and not limitation, she:

             a) Placed G.A., and reportedly other disabled students, in trash containers;

             b) Smothered G.A. by holding a hand over his mouth and nose;

             c) Spilled hot collard greens and juice on G.A.’s head;

             d) Refused to allow G.A. to use a desk and requiring him to stand the

                entirety of the day;

             e) Told G.A. his mother condoned the abuse at school; and



                                                                                      43
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 43 of 55
           f) Told G.A. “if he acted like trash, he would be treated like trash.”

181.    Upon information and belief, similarly-situated elementary school students

        who were not disabled were not subjected to repeated physical or emotional

        abuse by their classroom teacher.

182.    Furthermore, upon information and belief, unlike G.A., Defendant Board

        investigated and reported to appropriate authorities any reports of abuse by a

        classroom teacher of non-disabled students.

183.    When G.A. displayed disability-related behaviors exacerbated by the trauma

        he experienced due to the ISSD’s failure to address his abuse by a classroom

        teacher, Defendant Board removed him from school, denied him access to

        peers, and only provided two (2) hours of access to instruction per week.

184.    Many of G.A.’s behaviors, including yelling and non-compliance, were

        behaviors also displayed by his non-disabled peers who were not removed from

        school, not denied access to peers, and not limited to two (2) hours of access to

        instruction per week.

185.    There was no rational basis for treating G.A. in a disparate manner.

186.    As a direct and proximate result of Defendants’ discriminatory misconduct,

        Plaintiff G.A. sustained, and continues to sustain, damages in excess of

        TWENTY-FIVE THOUSAND DOLLARS ($25,000.00), the amount to be

        determined at trial. Plaintiff G.A.’s damages include, but are not limited to:

           a) Past, present and future physical and psychological pain, suffering, and

              impairment;




                                                                                      44
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 44 of 55
           b) Medical bills, counseling, and other costs and expenses for future

              psychological care;

           c) Monetary damages for intentional or purposeful discrimination; and

           d) Attorneys’ fees.

                                   COUNT VI
                    Violation of the Fourteen Amendment
               Conspiracy to Commit Deprivation of Civil Rights
                                42 U.S.C. § 1983

 (Defendant Board in its official capacity, and Superintendent Johnson,
Associate Superintendent Lesane, EC Director McClenahan, and Principal
    Cloer, Defendant Principal Mehall, in their individual capacities)



187.    “In a conspiracy claim under Section 1983, there must be a showing that the

        defendants conspired or acted jointly or in concert and that some overt act was

        done in furtherance of the conspiracy, which resulted in plaintiff being

        deprived of the constitutional right.” Hafner v. Brown, 989 F.2d 570, 577 (4th

        Cir. 1992).

188.    Defendant Board, Superintendent Johnson, Associate Superintendent Lesane,

        EC Director McClenahan, Principal Cloer, and Principal Mehall conspired to

        hide G.A.’s abuse by Ms. R. Johnson by way of example:

               j) Defendants knew of Ms. R. Johnson’s abuse of G.A. and the violation

                  of his constitutional rights to bodily integrity and his property right

                  to education.

               k) In the first grade, Ms. Jennifer Bender reported Ms. R. Johnson’s

                  abuse to Principal Cloer who in turn reported it to higher



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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 45 of 55
          administrators in the ISSD;

       l) Although the abuse allegations were reported at multiple levels

          within the ISSD, Defendants failed to further investigate, report to

          the proper authorities, or take corrective action address the reports

          of Ms. R. Johnson’s abuse of G.A. at school;

       m) Defendants never informed R.A. of the allegations of abuse in the

          first grade;

       n) Defendants also failed to report, investigate, or address the abuse of

          another student with autism by the SRO at the Pressly School;

       o) Upon information and belief, Defendants knew reporting the abuse

          of G.A. by his classroom teacher, or the abuse of other students,

          would open the ISSD to legal liability;

       p) Defendants placed G.A. and other disabled students in Ms. R.

          Johnson’s classroom for second grade;

       q) Unsurprisingly, G.A. continued to be abused in the second grade by

          Ms. R. Johnson as were other students in his classroom;

       r) R.A. spoke to Ms. R. Johnson about incidents in the classroom in

          second grade and reported the abuse to Principal Mehall;

       s) Defendants again failed to investigate, report, or address the reports

          by R.A. of Ms. R. Johnson’s abuse of G.A. in the second grade;

       t) Defendants informed R.A. that Ms. R. Johnson’s actions, including

          but not limited to, withholding G.A.’s desk, were appropriate;




                                                                             46
Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 46 of 55
       u) Defendants moved Ms. R. Johnson to a classroom with mostly non-

          verbal students in the following school year;

       v) Students in this classroom were also abused by Ms. R. Johnson;

       w) A third party counselor reported the abuse allegations to the Iredell

          County Sheriff’s Department rather than Defendants, although

          they had received reports of abuse over two (2) years;

       x) Defendants denied knowing of Ms. R. Johnson’s abuse of G.A. and

          other students after her arrest in October 2019;

       y) Defendant continued to employ Ms. R. Johnson after she pleaded

          guilty to Assault on a Handicap Person in March 2020;

       z) Defendant Board established a custom, policy, and practice of

          engaging and encouraging conspiracy to conceal child abuse in the

          ISSD. Defendant Board demonstrated this custom, policy, and

          practice by:

             a. Failing to address the reports of Ms. R. Johnson’s abuse of

                G.A. at school in the first grade;

             b. Failing to address the reports of abuse of another student by

                an SRO;

             c. Failing to take any corrective action or direct its subordinates

                to take corrective action for either G.A. or the other student;

             d. Placing G.A. in Ms. R. Johnson’s classroom for second grade

                where he was the victim of further abuse;




                                                                             47
Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 47 of 55
                       e. Allowing Ms. R. Johnson to abuse other students in a similar

                          fashion; and

                       f. Continuing to employ Ms. R. Johnson after she pleaded guilty

                          to Assault on a Handicap Person.

189.    As a direct and proximate result of Defendants’ discriminatory misconduct,

        G.A. sustained, and continues to sustain, damages in excess of TWENTY-FIVE

        THOUSAND DOLLARS ($25,000.00), the amount to be determined at trial.

        G.A.’s damages include, but are not limited to:

        a)     Past, present and future psychological pain, suffering, and impairment;

        b)     Medical bills, counseling, and other costs and expenses for future

               psychological care;

        c)     Monetary damages for intentional or purposeful discrimination; and

        d)     Attorneys’ fees.


                                      COUNT VII
                                      Negligence

  (Defendant Board in its official capacity, and Superintendent Johnson,
   Associate Superintendent Lesane, EC Director McClenahan, Principal
    Cloer, and Principal Mehall, and Ms. R. Johnson in their individual
                                 capacities)


190.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.

191.    Negligence, at common law, contains three elements: (1) a legal duty; (2) a

        breach thereof; and (3) injury proximately caused by the breach.” Fussell v.

        N.C. Farm Bureau Mut. Ins. Co., 695 S.E.2d 437, 440 (N.C. Sup. Ct. 2010).


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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 48 of 55
192.    Defendant Board and Superintendent Johnson, Associate Superintendent

        Lesane, EC Director McClenahan, Principal Cloer, and Principal Mehall

        breached their duty to report child abuse under North Carolina General

        Section 115C-400. 16 NCAC 06C .0312, Board policies 4040 and 4240.

           a) “Any [school personnel] who has cause to suspect child abuse or neglect

              has a duty to report the case of the child to the Director of Social Services

              of the county;”

           b) Defendants are mandatory reporters and do not have the authority to

              exercise discretion upon receipt of a report of abuse;

           c) Defendants knew of Ms. R. Johnson’s physical and emotional abuse of

              G.A.;

           d) Defendants knew of the physical, psychological, and emotional harm the

              abuse would cause G.A;

           e) Any school employee of reasonable intelligence would know to report the

              abuse;

           f) None of the Defendants reported G.A.’s abuse to the Director of Social

              Services; and

           g) As a result of Defendants’ failures, G.A. suffered injuries, including, but

              not limited to:

                   1. Continued emotional and physical abuse by Ms. R. Johnson

                       while at school;

                   2. Emotional distress as a result of the abuse;




                                                                                        49
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 49 of 55
                   3. G.A. lost access to his education as a result of the abuse; and

                   4. G.A. receives regular therapy to address the emotional impact

                      of the abuse.

193.    Ms. R. Johnson breached her duty of ordinary care to protect students,

        including G.A., from injury and damage, causing injuries to Plaintiff G.A. Due

        to Ms. R. Johnson’s abusive actions, G.A. lost instructional time constituting

        educational harm and suffered emotional distress and ongoing medical issues

        including a diagnosis of PTSD.

194.    Defendants’ actions and omissions were the proximate cause of G.A.’s injuries,

        including lost educational opportunity, emotional distress, physical harm, and

        psychological damage.

195.    As a direct and proximate result of Defendants’ negligence, Plaintiff G.A.

   sustained, and continues to sustain, damages in excess of TWENTY-FIVE

   THOUSAND DOLLARS ($25,000.00), the amount to be determined at trial.

   Plaintiff G.A.’s damages include, but are not limited to:

               a) Punitive damages;

               b) Past, present and future psychological pain, suffering, and

                  impairment;

               c) Medical bills, counseling, and other costs and expenses for future

                  psychological care; and

               d) Attorneys’ fees.




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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 50 of 55
                                    COUNT VIII
                     Negligent Infliction of Emotional Distress

(Superintendent Johnson, Associate Superintendent Lesane, EC Director
  McClenahan, Principal Cloer, Principal Mehall, and Ms. R. Johnson in
                     their individual capacities)



196.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.

197.    A defendant is liable for negligent infliction of emotional distress when “(1) the

        defendant negligently engaged in conduct, (2) it was reasonably foreseeable

        that such conduct would cause the plaintiff severe emotional distress . . . , and

        (3) the conduct did in fact cause the plaintiff severe emotional distress.” Acosta

        v. Byrum, 180 N.C. App. 562, 667 (2006) (quoting R. Johnson v. Ruark

        Obstetrics, 327 N.C. 283, 304, 395 S.E.2d 85, 97 (1990)).

198.    Ms. R. Johnson negligently engaged in conduct that was reasonably

        foreseeable to cause G.A. severe emotional distress and did, in fact, cause G.A.

        severe emotional distress, when she physically and emotionally abused G.A.

        By way of example and not limitation, Ms. R. Johnson:

               a) Smothered G.A. on multiple occasions by holding him on the floor

                   with her hands over his mouth and nose;

               b) Told G.A. that his mother wanted Ms. R. Johnson to abuse him in

                   order to help with his anger;

               c) Placed G.A. in a trash can/recycle bin from which he was unable to

                   get out on multiple occasions;



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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 51 of 55
               d) Told G.A. “if he acted like trash [she] would treat him like trash”;

               e) Forced G.A. to stand the entire day, after his desk broke, causing

                   him to cry from the pain of standing so long; and

               f) Purposefully spilled food on him and ruined his clothes.

199.    Superintendents Johnson, Associate Superintendent Lesane, EC Director

        McClenahan, Principal Cloer, and Principal Mehall negligently engaged in

        conduct and failed to follow a duty of conduct imposed by law, i.e., the duty of

        ordinary care, to protect Plaintiff G.A. from injury and damage, when they

        knew of Ms. R. Johnson’s abuse of G.A., failed to intercede, failed to investigate,

        and took no remedial steps to prevent it from re-occurring.

200.    Defendants failed to follow that degree of care that a reasonable and prudent

        person would use under the same or similar circumstances.

201.    G.A. suffered severe emotional distress as a result of Defendants’ failures

        including, but not limited to:

               a) G.A.’s aversion to attending school;

               b) G.A. being diagnosed with PTSD;

               c) G.A.’s increased maladaptive behaviors to the extent that he was

                   not allowed to attend school;

               d) G.A.’s more violent behaviors towards others at school and home; is

                   more easily agitated; cries more often; and

               e) The need for regular therapy appointments with a licensed clinical

                   psychologist.




                                                                                         52
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 52 of 55
202.    Defendants’ negligence was a proximate cause of G.A.’s severe emotional

        distress, which Defendants should have foreseen as the natural and continuous

        sequence of their negligent actions.

203.    As a direct and proximate result of Defendants’ negligent infliction of

        emotional distress G.A. sustained, and continues to sustain, damages in excess

        of TWENTY-FIVE THOUSAND DOLLARS ($25,000.00), the amount to be

        determined at trial. G.A.’s damages include, but are not limited to:

        a)      Punitive damages;

        b)      Past, present and future psychological pain, suffering, and impairment;

        c)      Medical bills, counseling, and other costs and expenses for future

                psychological care; and

        d)      Attorneys’ fees.

                                        COUNT IX
                                   False Imprisonment

             (Defendant R. Johnson in her individually named capacity)


204.    Plaintiffs incorporate all preceding paragraphs into this Count by reference as

        if fully stated herein.

205.    The court in Wilkerson v. Duke Univ., 229 N.C. App. 670, 674 (2013) addressed

        the standard for claims of false imprisonment as such:

                False imprisonment is the restraint of a person where the
                restraint is both unlawful and involuntary. Black v.
                Clark's Greensboro, Inc., 263 N.C. 226, 228, 139 S.E.2d
                199,           201              (1964). The elements of false
                imprisonment include: “(1) the illegal restraint of plaintiff
                by defendant, (2) by force or implied threat of force, and (3)
                against the plaintiff's will.” Rousselo v. Starling, 128


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       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 53 of 55
              N.C.App. 439, 449, 495 S.E.2d 725, 732 (1998). “The
              restraint requirement of this action requires no
              appreciable period of time, simply sufficient time for one to
              recognize his illegal restraint. The tort is complete with
              even a brief restraint of the plaintiff's freedom.” West v.
              King's Dep't Store, Inc., 321 N.C. 698, 703, 365 S.E.2d 621,
              624 (1988).

206.    G.A. was involuntarily imprisoned in a trash can by Defendant R. Johnson.

207.    Ms. R. Johnson held G.A. down covering his mouth and nose and refused to

        allow him to get up.

208.    As a direct and proximate result of Defendant’s false imprisonment, Plaintiff

        G.A. and Plaintiff R.A. sustained, and continues to sustain, damages in excess

        of TWENTY-FIVE THOUSAND DOLLARS ($25,000.00), the amount to be

        determined at trial. Plaintiffs’ damages include, but are not limited to:

           a) Punitive damages

           b) Past, present and future psychological pain, suffering, and impairment;

              and

           c) Medical bills, counseling, and other costs and expenses for future

              psychological care; and

           d) Attorneys’ fees.

                                        CONCLUSION

        NOW THEREFORE, Plaintiffs respectfully request that judgment be entered

in their favor and against Defendant Iredell-Statesville District Schools Board of

Education and Defendants Superintendent Johnson, Associate Superintendent

Lesane, EC Director McClenahan, Principal Cloer, Principal Mehall, and Ms. R.

Johnson.


                                                                                    54
       Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 54 of 55
                               JURY DEMAND

      Now Come the Plaintiffs, by and through their attorneys, and demand a trial

by jury.


            Respectfully submitted this the 2nd__ day of February, 2021.

                        /s/ Stacey Gahagan
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                                                                               55
     Case 5:20-cv-00192-KDB-SCR Document 3 Filed 02/02/21 Page 55 of 55
